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TAG

Jeffrey Huron, Fag (BBN: 136585)
1|| HURON LAW G

1875 Century Park ast, Suite 1006
Los Angeles, CA 90067

Telephone: 310) 284-3400
Facsimile: (310) 772-0037 |
E-riail: jhyron@huronlaw.com

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Michael D. Esse, Esq.

(Pendine admission pro hac vice)
DAIGLE FISSE & KESSENICH, PLC
P. O. Box 5350

Covington, LA 70434-5350
‘Telephone: {358 871-0800
Facsimile: (985) 871-0899

E-mail: mfissedaicletisse.com

ATTORNEYS FOR GE PACKAGED POWER, INC.

  

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it UNITED STATES DISTRICT COURT
Db FOR THE CENTRAL DISTRICT OF CALIFORNIA
s EASTERN DIVISION

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DISCLOSURE STATEMENT * ge) 7

“ARB, INC, and ZURICH AMERICAN _
14 INSURANCE COMPANY ‘

   

 

  

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Defendants.

 

 

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a3 Pursuant to Fed, R. Civ, P. 7.1, Defendant GE Packaged Power, inc., by and

.24.| through. its. attorneys, states that General. Electric Company, a publiely-held corporation, is-its

98 || parent company.
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RULE 7.1 CORPORATE DISCLOSURE STATEMENT

 

 

 
 

 

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1 Dated: March 20, 2013
Huron Law Group
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3 By: \, ie (rg 4~
4 Jéffrey Huron, Esq. (SBN: 136585)
1875 Century Park East, Suite 1000
5 Los Angeles, CA 90067
Telephone: (310) 284-3400
6 Facsimile: (310) 772-0037
7 AND
8
Michael D. Fisse
9 (Pending admission pro hac vice)
Daigle Fisse & Kessenich, PLC
10 P. O. Box 5350
u Covington, LA 70434-5350
Telephone: (985) 871-0800
12 Facsimile: (985) 871-0899
13 Attorneys for Defendant,
GE Packaged Power, Inc.
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RULE 7.1 CORPORATE DISCLOSURE STATEMENT

 

 

 
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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of California. I am over
the age of eighteen years and not a pay to the within action; my business address is
1875 Century Park East, Suite 1000, Los Angeles, California 90067.

On March 20, 2013, I served the following document(s) described as RULE
7.1 CORPORATE DISCLOSURE STATEMENT on the interested parties in this action
by placing true copies thereof enclosed in sealed envelopes addressed as follows:

Jay D. Harker, Esq.

Martin C, Sener, Esq.
Clausen Miller PC

2040 Main Street, Suite 500
Irvine, California 92614

Eugene West, Esq.

West Corzine, LLP

400 West Ventura Boulevard, Suite 205
Camarillo, CA 93010

BY MAIL: I am “readily familiar” with Huron law group 's practice for

collecting and processing correspondence for mailing with the United States Postal

Service. Under that practice, it would be deposited with the United States Postal

Service that same day in the ordinary course of business. Such envelope(s) were
laced for collection and mailing with postage thereon fully prepaid at Los Angeles,
alifornia, on that same day following ordinary business practices.

BY CM/ECF: Filing the document(s) listed above with the Clerk of the
Court using the CM/ECF system which sent notification of such filing to all counsel
registered in the above-captioned action.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct and that I am employed in the office
of a member of the bar of this Court at whose direction the service was made.

Executed on March 20, 2013, at Los Angeles, California.

/s/ Efrain Bailon
Efrain Bailon

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